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UNIVERSITY OF ALASKA BOARD OF
REGENTS AND UNIVERSITY OF
ALASKA SYSTEM
                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA

THERESA DUTCHUK, ANNALISA
HEPPNER, LIZ ORTIZ, JOANNA WELLS,
NORMA JOHNSON, AND JANE DOE VI,
                      Plaintiffs,
         v.
DAVID YESNER, UNIVERSITY OF                        Case No. 3:19-cv-00136-HRH
ALASKA BOARD OF REGENTS AND
UNIVERSITY OF ALASKA SYSTEM,
                      Defendants.


                   [PROPOSED] ORDER GRANTING UNIVERSITY’S
                      RULE 37 MOTION FOR ATTORNEYS’ FEES

         University of Alaska System and the Alaska Board of Regents, pursuant to Fed.

R. Civ. P. 37 and this Court’s Order on Motion to Compel Discovery, 1 having

submitted a Rule 37 Motion for Attorneys’ Fees and the Court having considered any

1
    ECF No. 120.

[PROPOSED] ORDER GRANTING UNIVERSITY’S RULE 37 MOTION FOR ATTORNEYS’ FEES
Dutchuk, et al. v. Yesner, et al.
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response thereto;

        IT IS HEREBY ORDERED the University’s Rule 37 Motion for Attorneys’

Fees is GRANTED. IT IS FURTHER ORDERED Plaintiffs’ counsel shall pay the

amount of $24,196.00 in fees to the University within ___ days of the date of this Order.


        DATED: ____ day of _______________, 2021.



                                                  ________________________________________
                                                  H. Russel Holland
                                                  United States District Judge



                                          CERTIFICATE OF SERVICE
I hereby certify that on October 11, 2021 I filed a true and correct copy of the foregoing document with the Clerk
of the Court for the United States District Court – District of Alaska by using the CM/ECF system. Participants in
Case No. 3:19-cv-00136-HRH who are registered CM/ECF users will be served by the CM/ECF system.
s/ Sarah Schirack




[PROPOSED] ORDER GRANTING UNIVERSITY’S RULE 37 MOTION FOR ATTORNEYS’ FEES
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